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                            UNITED STATES JUDICIAL PANEL
                                         on
                             MULTIDISTRICT LITIGATION


                              NOTICE OF HEARING SESSION


Pursuant to the order of the United States Judicial Panel on Multidistrict Litigation filed today,
notice is hereby given that a hearing session has been scheduled to consider various matters under
28 U.S.C. § 1407.

DATE OF HEARING SESSION:                   December 5, 2024

LOCATION OF HEARING SESSION:               Daniel Patrick Moynihan U.S. Courthouse
                                           Ceremonial Courtroom No. 9C, 9th Floor
                                           500 Pearl Street
                                           New York, New York 10007

TIME OF HEARING SESSION: In those matters designated for oral argument, counsel
presenting oral argument must be present at 8:00 a.m. in order for the Panel to allocate the
amount of time for oral argument. Oral argument will commence at 9:30 a.m.

SCHEDULED MATTERS: Matters scheduled for consideration at this hearing session are listed
on the enclosed Hearing Session Order and Schedule of Matters for Hearing Session.

       •       Section A of this Schedule lists the matters designated for oral argument and
               includes all actions encompassed by Motion(s) for Transfer filed pursuant to
               Rules 6.1 and 6.2. Any party waiving oral argument pursuant to Rule 11.1(d)
               need not attend the Hearing Session.
       •       Section B of this Schedule lists the matters that the Panel has determined to
               consider without oral argument, pursuant to Rule 11.1(c). Parties and
               counsel involved in these matters need not attend the Hearing Session.

ORAL ARGUMENT:
        •      The Panel carefully considers the positions advocated in filings with the Panel when
               it allocates time to attorneys presenting oral argument. The Panel, therefore,
               expects attorneys to adhere to those positions including those concerning an
               appropriate transferee district. Any change in position should be conveyed to Panel
               staff before the beginning of oral argument. Where an attorney thereafter advocates
               a position different from that conveyed to Panel staff, the Panel may reduce the
               allotted argument time and decline to hear further from that attorney.
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         •     The Panel expects attorneys presenting oral argument to be prepared to discuss
               what steps they have taken to pursue alternatives to centralization including, but
               not limited to, engaging in informal coordination of discovery and scheduling, and
               seeking Section 1404 transfer of one or more of the subject cases.
         •     A transcript of the oral argument will be filed in each docket when it becomes
               available. Parties who wish to order a transcript may obtain the court reporter’s
               contact information from the court reporter at the hearing or from the Panel at 202-
               502-2800 following the hearing.
For those matters listed on Section A of the Schedule, the "Notice of Presentation or Waiver of
Oral Argument" must be filed in this office no later than November 12, 2024.
The procedures governing Panel oral argument (Panel Rule 11.1) are attached. The Panel
strictly adheres to these procedures.


                                                      FOR THE PANEL:

                                                      _____________________
                                                      Marcella R. Lockert
                                                      Acting Clerk of the Panel

cc: Clerk, United States District for the Southern District of New York
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                             UNITED STATES JUDICIAL PANEL
                                          on
                              MULTIDISTRICT LITIGATION


                                  HEARING SESSION ORDER


       The Panel issues the following orders in connection with its next hearing session,

     IT IS ORDERED that on December 5, 2024, the Panel will convene a hearing session in
New York, New York, to consider the matters on the attached Schedule under 28 U.S.C. § 1407.

        IT IS FURTHER ORDERED that the Panel may, on its own initiative, consider transfer of
any or all of the actions in those matters to any district or districts.

        IT IS FURTHER ORDERED that the Panel will hear oral argument on the matters listed
on Section A of the attached Schedule, unless the parties waive oral argument or unless the Panel
later decides to dispense with oral argument pursuant to Panel Rule 11.1(c).

       IT IS FURTHER ORDERED that the Panel will consider without oral argument the
matters listed on Section B of the attached Schedule pursuant to Panel Rule 11.1(c). The Panel
reserves the prerogative, on any basis including submissions of parties pursuant to Panel Rule
11.1(b), to designate any of those matters for oral argument.

        IT IS FURTHER ORDERED that the Clerk of the Judicial Panel on Multidistrict
Litigation shall direct notice of this hearing session to counsel for all parties involved in the
matters on the attached Schedule.


                               PANEL ON MULTIDISTRICT LITIGATION



                                   __________________________________________
                                              Karen K. Caldwell
                                                   Chair

                                  Nathaniel M. Gorton          Matthew F. Kennelly
                                  David C. Norton              Roger T. Benitez
                                  Dale A. Kimball              Madeline Cox Arleo
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                    SCHEDULE OF MATTERS FOR HEARING SESSION
                        December 5, 2024 -- New York, New York


                                  SECTION A
                    MATTERS DESIGNATED FOR ORAL ARGUMENT


(This schedule contains only those civil actions listed in the Schedule(s) of Actions submitted
with the docketed motion(s) for transfer. See Panel Rules 6.1 and 6.2. In the event these dockets
are centralized, other actions of which the Panel has been informed may be subject to transfer
pursuant to Panel Rule 7.1.)


MDL No. 3129 − IN RE: AMERICAN REGENT, INC., SELENIOUS ACID INJECTION
               ('565) PATENT LITIGATION

   Motion of plaintiff American Regent, Inc., to transfer the following actions to the United
States District Court for the District of New Jersey:

               District of Delaware

      AMERICAN REGENT, INC. v. FRESENIUS KABI USA, LLC, C.A. No. 1:24−00824

               District of New Jersey

      AMERICAN REGENT, INC. v. ACCORD HEALTHCARE INC., C.A. No. 2:24−07791
      AMERICAN REGENT, INC. v. ASPIRO PHARMA LTD., C.A. No. 2:24−07794
      AMERICAN REGENT, INC. v. CIPLA USA, INC., ET AL., C.A. No. 2:24−07796
      AMERICAN REGENT, INC. v. DR. REDDY'S LABORATORIES, INC., ET AL.,
        C.A. No. 2:24−07799
      AMERICAN REGENT, INC. v. FRESENIUS KABI USA, LLC, C.A. No. 2:24−07801
      AMERICAN REGENT, INC. v. GLAND PHARMA LIMITED, C.A. No. 2:24−07802
      AMERICAN REGENT, INC. v. HIKMA PHARMACEUTICALS USA INC.,
        C.A. No. 2:24−07803
      AMERICAN REGENT, INC. v. LONG GROVE PHARMACEUTICALS, LLC,
        C.A. No. 2:24−07804
      AMERICAN REGENT, INC. v. RK PHARMA, INC., C.A. No. 2:24−07805
      AMERICAN REGENT, INC. v. SOMERSET THERAPEUTICS, LLC, ET AL.,
        C.A. No. 2:24−07807
      AMERICAN REGENT, INC. v. SUN PHARMACEUTICAL INDUSTRIES LIMITED,
        ET AL., C.A. No. 2:24−07810
      AMERICAN REGENT, INC. v. XIROMED, LLC, ET AL., C.A. No. 2:24−07811
      AMERICAN REGENT, INC. v. ZYDUS PHARMACEUTICALS (USA) INC.,
        C.A. No. 2:24−07812
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                           SECTION B
  MATTERS DESIGNATED FOR CONSIDERATION WITHOUT ORAL ARGUMENT


MDL No. 2591 − IN RE: SYNGENTA AG MIR162 CORN LITIGATION


  Opposition of plaintiffs David G. Dingmann, et al., to transfer of the following action to the
United States District Court for the District of Kansas:

                  District of Minnesota

      DINGMANN, ET AL. v. BASSFORD REMELE, P.A., ET AL., C.A. No. 0:24−03675

MDL No. 2738 − IN RE: JOHNSON & JOHNSON TALCUM POWDER PRODUCTS
               MARKETING, SALES PRACTICES AND PRODUCTS LIABILITY
               LITIGATION

   Opposition of plaintiff Beasley, Allen, Crow, Methvin, Portis & Miles, P.C., to transfer of the
following action to the United States District Court for the District of New Jersey:

               Middle District of Alabama

      BEASLEY, ALLEN, CROW, METHVIN, PORTIS AND MILES, P.C. v. THE SMITH
        LAW FIRM, PLLC, ET AL., C.A. No. 2:24−00582

MDL No. 2741 − IN RE: ROUNDUP PRODUCTS LIABILITY LITIGATION

  Opposition of plaintiffs Mark R. Aldridge, et al., to transfer of the following action to the
United States District Court for the Northern District of California:

               Western District of Oklahoma

      ALDRIDGE, ET AL. v. THE BAYER CORPORATION, ET AL., C.A. No. 5:24−00831




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MDL No. 2873 − IN RE: AQUEOUS FILM−FORMING FOAMS PRODUCTS LIABILITY
               LITIGATION

   Opposition of plaintiffs The City of Muscle Shoals, Alabama, et al., to transfer of the City of
Muscle Shoals, Alabama action and Colbert County, Alabama, et al., to transfer of the Colbert
County, Alabama action to the United States District Court for the District of South Carolina, and
motion of defendant 3M Company to transfer the Uniformed Professional Fire Fighters
Association of Connecticut action to the United States District Court for the District of South
Carolina:

               Northern District of Alabama

      THE CITY OF MUSCLE SHOALS, ALABAMA, ET AL. v. 3M COMPANY, INC.,
        ET AL., C.A. No. 3:24−01062
      COLBERT COUNTY, ALABAMA, ET AL. v. 3M COMPANY, INC., ET AL.,
        C.A. No. 3:24−01063

               District of Connecticut

   UNIFORMED PROFESSIONAL FIRE FIGHTERS ASSOCIATION OF
     CONNECTICUT, ET AL. v. 3M COMPANY, ET AL., C.A. No. 3:24−01101

MDL No. 3004 − IN RE: PARAQUAT PRODUCTS LIABILITY LITIGATION

   Opposition of plaintiff Shirley Cox to transfer of the following action to the United States
District Court for the Southern District of Illinois:

               Western District of Washington

      COX v. B&R AERIAL CROP CARE, INC., ET AL., C.A. No. 2:24−01462

MDL No. 3010 − IN RE: GOOGLE DIGITAL ADVERTISING ANTITRUST
               LITIGATION

   Opposition of defendants Google LLC and Alphabet Inc., to transfer of the following action to
the United States District Court for the Southern District of New York:

               Northern District of California

      RUMBLE CANADA, INC. v. GOOGLE LLC, ET AL., C.A. No. 5:24−02880




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MDL No. 3014 − IN RE: PHILIPS RECALLED CPAP, BI−LEVEL PAP, AND
               MECHANICAL VENTILATOR PRODUCTS LIABILITY LITIGATION

   Opposition of plaintiff Derrick Martin King to transfer of the following action to the United
States District Court for the Western District of Pennsylvania:

               Northern District of Ohio

      KING v. CORNERSTONE MEDICAL SERVICES, ET AL., C.A. No. 5:24−01344

MDL No. 3026 − IN RE: ABBOTT LABORATORIES, ET AL., PRETERM INFANT
               NUTRITION PRODUCTS LIABILITY LITIGATION

   Opposition of plaintiff Gretchen Sudds to transfer of the following action to the United States
District Court for the Northern District of Illinois:

               Northern District of California

      SUDDS v. ABBOTT LABORATORIES, ET AL., C.A. No. 3:24−06404

MDL No. 3080 − IN RE: INSULIN PRICING LITIGATION

   Opposition of plaintiff People of the State of California to transfer of the following action to
the United States District Court for the District of New Jersey:

               Central District of California

      PEOPLE OF THE STATE OF CALIFORNIA v. ELI LILLY AND COMPANY, ET AL.,
        C.A. No. 2:23−01929

MDL No. 3094 − IN RE: GLUCAGON−LIKE PEPTIDE−1 RECEPTOR AGONISTS
               (GLP−1 RAS) PRODUCTS LIABILITY LITIGATION

   Motions of plaintiffs Stephanie Wolfe and Darius Craig to transfer their respective following
actions to the United States District Court for the Eastern District of Pennsylvania:

               Northern District of Alabama

      WOLFE v. NOVO NORDISK A/S, ET AL., C.A. No. 2:24−00992
      CRAIG v. NOVO NORDISK A/S, ET AL., C.A. No. 2:24−01075




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MDL No. 3108 − IN RE: CHANGE HEALTHCARE, INC., CUSTOMER DATA
               SECURITY BREACH LITIGATION

  Opposition of plaintiff David Angel Sifuentes, III, to transfer of the following action to the
United States District Court for the District of Minnesota:

               Western District of Michigan

      SIFUENTES v. CHANGE HEALTHCARE, C.A. No. 1:24−00850

MDL No. 3114 − IN RE: AT&T INC. CUSTOMER DATA SECURITY BREACH
               LITIGATION

   Oppositions of plaintiffs to transfer of their respective following actions to the United States
District Court for the Northern District of Texas:

               Central District of California

      REHN v. AT&T, INC., ET AL., C.A. No. 2:24−06224

               Southern District of California

      ELLIOTT v. AT&T, INC., ET AL., C.A. No. 3:24−01282
      MOSES JR. v. AT&T, INC., ET AL., C.A. No. 3:24−01283
      LEE v. AT&T, INC., ET AL., C.A. No. 3:24−01426
      CHARUNGVAT v. AT&T, INC., ET AL., C.A. No. 3:24−01427
      WINGARD v. AT&T, INC., ET AL., C.A. No. 3:24−01444

MDL No. 3116 − IN RE: LAWRENCE L. CRAWFORD LITIGATION

   Motion of plaintiff Lawrence L. Crawford for reconsideration of the Panel's order denying
transfer to the following actions to the United States District Court for the District of New Jersey:

               Northern District of Georgia

   AMERICAN ALLIANCE FOR EQUAL RIGHTS v. FEARLESS FUND MANAGEMENT,
     LLC, ET AL., C.A. No. 1:23−03424

               Southern District of Ohio

      CRAWFORD, ET AL. v. THE CITY OF WHITEHALL, ET AL., C.A. No. 2:23−02962

               Eastern District of Pennsylvania

      CRAWFORD, ET AL. v. THE POPE, ET AL., C.A. No. 2:24−00659




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RULE 11.1: HEARING SESSIONS AND ORAL ARGUMENT

      (a) Schedule. The Panel shall schedule sessions for oral argument and consideration of
other matters as desirable or necessary. The Chair shall determine the time, place and agenda for
each hearing session. The Clerk of the Panel shall give appropriate notice to counsel for all
parties. The Panel may continue its consideration of any scheduled matters.

       (b) Oral Argument Statement. Any party affected by a motion may file a separate
statement setting forth reasons why oral argument should, or need not, be heard. Such statements
shall be captioned "Reasons Why Oral Argument Should [Need Not] Be Heard" and shall be
limited to 2 pages.

             (i) The parties affected by a motion to transfer may agree to waive oral argument. The
Panel will take this into consideration in determining the need for oral argument.

       (c) Hearing Session. The Panel shall not consider transfer or remand of any action
pending in a federal district court when any party timely opposes such transfer or remand without
first holding a hearing session for the presentation of oral argument. The Panel may dispense with
oral argument if it determines that:

            (i) the dispositive issue(s) have been authoritatively decided; or

             (ii) the facts and legal arguments are adequately presented and oral argument would
not significantly aid the decisional process. Unless otherwise ordered, the Panel shall consider all
other matters, such as a motion for reconsideration, upon the basis of the pleadings.

      (d) Notification of Oral Argument. The Panel shall promptly notify counsel of those
matters in which oral argument is scheduled, as well as those matters that the Panel will consider
on the pleadings. The Clerk of the Panel shall require counsel to file and serve notice of their
intent to either make or waive oral argument. Failure to do so shall be deemed a waiver of oral
argument. If counsel does not attend oral argument, the matter shall not be rescheduled and that
party's position shall be treated as submitted for decision on the basis of the pleadings filed.

         (i) Absent Panel approval and for good cause shown, only those parties to actions who
have filed a motion or written response to a motion or order shall be permitted to present oral
argument.

         (ii) The Panel will not receive oral testimony except upon notice, motion and an order
expressly providing for it.

       (e) Duty to Confer. Counsel in an action set for oral argument shall confer separately
prior to that argument for the purpose of organizing their arguments and selecting representatives
to present all views without duplication. Oral argument is a means for counsel to emphasize the
key points of their arguments, and to update the Panel on any events since the conclusion of
briefing.

       (f) Time Limit for Oral Argument. Barring exceptional circumstances, the Panel shall
allot a maximum of 20 minutes for oral argument in each matter. The time shall be divided among
those with varying viewpoints. Counsel for the moving party or parties shall generally be heard
first.
